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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

RICHELLE PATTERSON                                                                     PLAINTIFF

v.                                   No. 4:11CV00126 JLH

DF GROUP                                                                            DEFENDANT

                                            ORDER

       Pursuant to the notice of voluntary dismissal by the plaintiff, this action is dismissed with

prejudice.

       IT IS SO ORDERED this 23rd day of June, 2011.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
